Case No: 23-000733




                     EAST RIDGE POLICE DEPARTMENT
                                       Incident # 23-000733
                                                   BEADLE, B.
    On January 18, 2023, at approximately 1240 hours, I Cpl. Beadle observed a green Honda CRV
    parked in the residence of 3801 Kingwood Circle. The vehicle was registered to a Jared Broome. Mr.
    Broome resides at 3801 Kingwood Circle and has a warrant for possession of fentanyl out of East
    Ridge City Court. Mr. Broome also has three warrants out of Red Bank for driving on suspended,
    speeding and felony evading for fleeing law enforcement in the green Honda CRV. Police made
    contact with a Jeanie Sneed. Ms. Sneed advised her grandson Mr. Broome was sleeping in a 10x10
    metal building in the back yard. Police made contact with Mr. Broome who was sleeping inside the
    metal building and was placed in custody. While placing Mr. Broome in custody police observed in plain
    view several aluminum foil pieces, a glass methamphetamine pipe and a syringe inside the building.
    Police also observed several aluminum foil pieces in the driveway beside the vehicles. A search
    warrant was sought and executed on the metal building. Police located 10 grams of methamphetamine,
    14.2 grams of fentanyl, drug paraphernalia and a Mossberg 500 shotgun. Mr. Broome was charged
    additionally with possession of methamphetamine for resale, possession of fentanyl for resale,
    possession of drug paraphernalia and unlawful possession of a firearm. Mr. Broome is a convicted
    felon out of both Georgia and Tennessee. Mr. Broome has a history of aggravated assault and felon in
    possession of a firearm. All narcotics were placed into property and evidence. Mr. Broome was
    transported to the Hamilton County Jail.




  Friday,
   Case   Jan1:23-cr-00037-CEA-CHS
              20 2023       10:37        WADE, R.
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